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CASE§NUMBER:QM/fé

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PATRICIA JOHNSON
Plaintiff,

VS.

COMPLAINT

GATEWAY, INC. a corporation and,

DAVID REZNICEK, an individual,
Defendants.

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COMES NOW, the Piaintiff, Patricia Johnson, by and through her attorneys of
record, and brings this action for damages and other legal and equitable relief from
Defendants’ violations of law, and for such other causes of action against the named
Defendants as hereafter stated, and for her Coinplaint against the Defendants,
GATEWAY INC., a corporation, and DAVID REZNICEK, an nindividual, hereby states
and alleges as follows: -

JURISDICTION AND VENUE
l. This action arises under the laws of the United States, particularly under the
Title VH, Civil Rights Act of 1964, 42 U.S.C.A. 2000e, including § 701 et
seq., to redress the wrongs done to her by Defendants’ subjecting P]aintiff

to discrimination on the basis of gender, to 42 U.S.C.A. 2000e-3(a) to

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redress retaliation, and under the provision of thelFair Labor Standards Act
of 1938, 52 St`at. 1060; 29 U.S.C.A. § 201 et seq.,: as amended by the Equal
Pay Act 77 Stat. 56; 29 U.S.C. § § 206(d) and 216(b), (written consent
being filed with the Court simultaneously With the filing of this Complaint),
and the Civil Rights Act of 1871, 42 U.S.C. § 1981

2. Jurisdiction over this action is conferred on this Court by 28 U.S.C. §§ 1331
and 1343. This Court has jurisdiction over pendent state law claims alleged
herein pursuant to 28 U.S.C. § 1367.

3. On or about August l, 2003, Plaintiff timely submitted a Charge of
Discrimination against Defendant on the basis of discrimination due to
gender, as Well as unequal pay compared to male employees, to the South
Dakota Division of Hurnan Rights and the U.S. Eiqual Employment
Opportunity Commission (Hereafter referred to as “EEOC”).

4. A Notice of Right to Sue Was issued by the EEOC on August 26, 2004 and
received by Plaintiff on August 30, 2004. A copy of this Notice is attached
hereto as Exhibit “A” and incorporated herein by reference

5. Venue properly lies in the Southern Division of the District of South Dakota
under 28 U.S.C. § 1391, as it is the district in xvhich the claim arose and the
acts alleged as a basis for federal claims took place Within the boundaries of

the District.

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6. Throughout this Complaint the terms “seX” and “gender” shall be used
interchangeably and identically and at all times the terms gender shall have
the same meaning as the term sex as Set forth in the Titles and Acts
acknowledged and addressed herein.

THE PARTIES

7. Plaintiff, Patricia Johnson (“Johnson”’) is a 40 year old, Caucasian woman
currently residing in Sioux Falls, South Dakota. At all times material,
Plaintiff was an employee of Defendant, Gateway, lnc., in Sioux Falls,
Minnehaha County, South Dakota, a member of a protected class and within
the jurisdictional coverage of Title VII of the Civ§il Rights Act.

8. Defendant, Gateway, Inc., (hereafter “Gateway”)§is a Delaware corporation
in good standing authorized to do business and doing business in the state
of South Dakota, primarily engaged in the business of manufacture,
production and distribution of computers and related electronic parts and
devices. At all times pertinent, Defendant Gateway employed more than a
thousand employees at its Sioux Falls site, engaging with knowledge in
commerce intended for customers in other states, Eand at all times engaged in
commerce and in the production of goods for commerce within the meaning
of the above-stated Titles and Acts and within the jurisdictional coverage

of Title VII of the Civil Rights Act.

 

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10.

Defendant, David Reznicek, (hereafter “Reznicek”) was at all times
pertinent, an employee of Gateway. He served as: the Interim Director and
Manager of Finance until March, 2001 , when he was promoted to Director
of the Sioux Falls, South Dakota Gateway operation, a position in which he
remained at all times subsequent to March, 2001 which are material to this
action.. Unless otherwise designated, Defendant Gateway and Reznicek are
collectively referred to hereafter as “Defendants”.

GENERAL ALLEGATIONS n
Plaintiff, Patricia Johnson (hereafter “Patricia”) was first employed with
Gateway on October 10, 1993, when she was hired as a Technical Support
Technician at the Sioux Falls plant. In 1994, Patricia was promoted to
Quality Assurance Technician, and later in 1994 was again promoted, this
time to Quality Assurance Supervisor. Patricia was again promoted and
from 1994-1995 was a Section Supervisor. In 1995-1996 she was made the
National Service and Support Manager in the Australia Division, Sydney,
Australia. During 1996-1997 Plaintiff was the Asia/Pacif`ic Regional
Service and Support Manager, Kuala Lumpur, Malaysia, and upon her
return requested that she be sent back to SiouX Falls.
During 1997-1999 Patricia was the Client Care Call Center Manager in

Sioux Falls, South Dakota, and when the Sioux Falls Director resigned in

 

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1998, had responsibility for managing 400+ inbound technical support
representatives and managers and 5 staff managers During her tenure, the
Sioux Falls operation was ranked number one for Gateway’s Consumer
Division in cost per solution, client satisfaction and client first time
resolution.

In 1999-Apri1 2001, Plaintiff was promoted to the SiX Sigma Black Belt
program and assist in cost saving activities Gateway-wide, and process
improvements and process design.

ln April of 2001, Patricia was chosen to be Senior Manager, Manufacturing
Quality, Sioux Falls, South Dakota. She served in this capacity until March
17, 2003. Patricia was directed to report to a Direbtor based in the Poway,
California office, one Dallas Quaresma Defendant Reznicek made clear to
Patricia that he was unhappy about the reporting set-up. He told Patricia
“[i]f you have anything to do with process improvement and quality that
you should report to me directly. These have to do with reporting on my
performance and affect my paycheck.”

Patricia discussed her concern that there were no women in Senior
Management in the Sioux Falls Manufacturing site. She was told by Dallas
Quaresma that by her being there it gave the appearance to the non~exempt

staff that there was a powerful woman in place and that this “would help

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manage the issues on the table.” Patricia was not advised what those issues
were. Patricia knew the fenner Director had been fired but was unaware of
the reason. On April 15, 2001, Patricia officially took the title of Senior
Manager-Quality Assurance/Manufacturing.

14. Throughout her career, Patricia had been a very successful and hard-
working employee From May 2002 through August 2002, she was asked
to retain her Sioux Falls responsibilities and take on the additional
responsibility of managing the Hampton, VA Quality Assurance program,
which involved several week-long trips to Virginia as well as 12-14 hour
days to keep up on both jobs. In October of 2002 Patricia received a Silver
Spotlight Award for her work as well as a high ranking on her performance
review.

15. Despite all this, the working conditions were worsening for Patricia. From
the beginning of the time she started in Sioux Falls, on April 15, 2001, she
was treated differently than her male counterparts and contemporaries. She
was paid less, she was not given the same opportunities or respect, and the
interference with herjob duties steadily increased.

16. The acts and comments of Defendant Reznicek created and perpetuated the
hostile environment and encouraged others to join in the behaviors toward

Patricia.

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17. Despite her requests for equal and fair treatment,ithe situation did not
improve. On February 6, 2003, Patricia made a complaint of gender
discrimination to Gateway, Inc.’s Hurnan Resouri:es`Department.

18. On or about March 17, 2003, Johnson was terminated

19. That Plaintiff filed a Charge of Discrimination on August 1, 2003.

20. A Notice of Right to Sue was issued by the EEOC on August 26, 2004 and
received by Plaintiff on August 30, 2004.

COUNT I
DISCRIMINATION PURSUANT TO 42 USC § 2000e TITLE VII
sEX/GENDER DISCRIMINATION

21. Plaintiff incorporates by reference the allegations set for in paragraphs 1
through 20 as if specifically set forth herein.

22. Plaintiff and Defendants herein named are employee and employer
respectively for purposes of the definition set forth in 42 U.S.C § 2000e, et
seq.

23. 42 U.S.C. §2000e (a) (l) provides that it is unlawful for an employer “ ...to
discriminate against any individual with respect to his compensation, terms,
conditions, or privileges of employment, because of such
individual’s...sex...”

24. Defendant’s conduct by and through its agents substantially interfered with

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Plaintiff`s employment and created an intimidating, hostile, and offensive
work environment This environment was created by conduct that was in
direct violation of 42 U.S.C. § 2000e, er seq. Defendant knew or should
have known of the existence of the harassment and failed to take timely and
appropriate action.
The unlawful employment practices complained of above were intentional,
and were done with malice or reckless indifference to the federally
protected rights of Plaintiff.
Defendant’s discriminatory working conditions culminated in Plaintiff’s
termination by Employer.
The discriminatory working conditions and disparate treatment Plaintiff
received included but was not limited to the folloiw'ing:
A. Within the greater Gateway organization, the management of l
Sioux Falls was referred to as the “§ioux Falls Boys Club”. lt
was acknowledged that it would beidifficult for Plaintiff as a
woman to operate there.
B. Plaintiff was openly ridiculed in sta§ff meeting in front of her
peers. Plaintiff` s area of responsibiiity was quality control.
Defendant Reznicek would say things like “if you could call it

a quality program at all” and “the quality programs are a joke

 

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and so is the manager”. He would say to Plaintiff in front of
the other managers ‘°you don’t know7 the first damn thing and
you never will.”

C. Reznicek’s staff began aping his behavior by refusing to
interact with Plaintiff and by not answering the phone when
Plaintiff called Reznicek. The staff would act belligerently
toward her at staff meetings regarding the quality programs

D. Plaintiff told the person in California to whom she reported of
the difficulties she was having. At lleast monthly for l 1/2
years Plaintiff told her manager that she was having trouble
being effective because of the resistance to any of her
programs or ideas. She advised them that she believed the
resistance was because she was a woman and she and her
programs were being halted by Reznicek and his staff.
Plaintiff advised her manager that Reznicek’s treatment of her
was very different from the way he‘treated his staff of 5 men.

E. When Plaintiff joined the management staff in Sioux Falls at
the Manager-?) level which was senior management, there was
one other woman in management, though she was at a lower

lever as a Manager-2 . Reznicek frequently socialized with all

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of his direct reports (male) and often took his team to an
“appointment with Dr. Green” which meant playing golf.
Neither Plaintiff nor the other female employee were ever
invited but were expected to stay and work while the male
employees took work time off to play golf. Plaintiff was a
Manager 3. Reznicek would conduct tours for visitors to CHS
and included all other Manager 3s in these events. However,
in the two years Plaintiff was there,_ she was never invited to
join in even once.

F. Reznicek would regularly demean Plaintiff s work in front of
others. For example, he would have all of his other (male)
managers make presentations to the entire staff at “town hall”
meetings However, after the Apri12001 meeting Plaintiff
was reprimanded for showing up his staff with the quality of
her presentation and told it was herjob to bring out others and
help them with their skills, not to show them up. She was
never invited to make a presentation again after this meeting

G. If there were national meetings for Quality Managers, instead
of sending Plaintiff because that was her job, Reznicek would

send a man despite his lack of knowledge about the area.

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Reznicek said that he was more comfortable with that.

H. ln the two years that Plaintiff worked with Reznicek he never
reprimanded her peers in front of thie peer group. However,
he frequently reprimanded her and belittled her in front of the
group. He so demeaned Plaintiff that two other employees
stopped by her office to say they couldn’t believe Reznicek’s
behavior.

1. in ianuary 0r2003, Plaintiff approath Reznicek about
taking on additional responsibilities of Training and
Continuous lmprovement, as had been discussed when she
came in 2001. Plaintiff had much prior training and
experience in these areas. Reznicek:responded that “1 have my
own staff to manage this - I think you’ll be staying out of` it.
Instead he retained a male employee who had no previous
experience or education in either Tnaining or Continuous
Improvement.

J. On February 4, 2003 ata staff meeting, Plaintiff brought up
quality violations that were occurring on the floor and
suggested that as managers they should all take closer looks.

A lower level manager than Plaintiff blew up and made

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several off color remarks under his fbreath. Reznicek neither
commented nor reprimanded him. When Plaintiff went to talk
to the offender to work out the issue, he screamed at her,
shaking his finger and told her he wouldn’t talk about.it and
to get the heil out of his office. Plaintiff went the next day to
discuss the behaviors with Reznicek who told her not to bring
up controversial things in staff meetings Plaintiff contacted
HR and made a complaint against Reznicek on February 6,

2003 .

28. The discrimination escalated until it culminated in a series of events which

ended in Plaintist termination:

A.

February 4, 2003: David Reznicek tells his direct reports in
staff meeting that there will be no cut-backs in Sioux Falls
during the May lay-offs. He indicated that Sioux Falls cut
backs would be more gradual over time from June through
August.

February 6, 2003: Plaintiff makes gender discrimination
complaint to Human Resources.

February 6, 2003: Plaintiff sends confidential e-mail to her

boss (Dallas) outlining the complaint discussion with Human

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Resources.

D. February 13, 2003: Plaintiff speaks with her boss, Dallas, via
phone about fear over her job being terminated by David
because of what she had reported to HR.

E. February 19, 2003: The reporting structure of Plaintiff" s
Quality Assurance staff was changed. Instead of reporting to
Quality Assurance the staff of 40 people and Plaintiff were
directed to report to Customer Service.

F. February 27, 2003: David Reznicek informs Plaintiff that
there are specific instructions from Poway (Gateway n
headquarters) to cut 12 people out of the Quality Assurance
organization in Sioux Falls, and that this is the only
organization affected by the cut.

G. February 28, 2003: Plaintiff speaks:with the Vice President of
Quality (hereafter “VP”) to inquire gas to why she had been
moved under Customer Service and why the severe cuts. The
VP was unaware of the cuts and indicated that he was told
about the move but that he didn’t understand it either. He said
he would check on it.

H. March 11, 2003: Reznicek tells Plaintiff that she will not be

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involved in the termination of any of her staff even though it
is her responsibility He further states that he would prefer
her Supervisors, junior members of her department to handle
it. Terminations were scheduled to begin the following
morning and Reznicek was aware that it was Plaintiff"s
responsibility and that she had already prepared a termination
list.

l. March 12, 2003-Reznicek called Piaintiff at 81 12 a.m. to
inform her that the termination were being postponed because
Gateway had gone over on the number allowed before
initializing the Warn Act. He asked Plaintiff if she would
consider terminating fewer people in her organization in
Hampton, VA. He indicated that the terminations would take
place once Gateway was sure that they would not invoke the
Warn Act cause additional costs to Gateway for this iayoff.

J. March 14, 2003: At an afternoon meeting, Plaintiff" s staff is
informed by Reznicek in private (without Plaintiff being
present) that the department to which they would report would
again be changed. The staff was directed to once again report

to Quality Assurance. This was to be effective that Monday,

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March 14, 2003, once Plaintiff was informed that she was
terminated
K. March 17, 2003: Plaintiff is told she is terminated from
Gateway. She is told “Your job has been eliminated and we
have been unable to find any alternatives for you”
L. March 17, 2003: Plaintiff" s staff is assigned to report directly
to the Plaintiff`s replacement, the new director of Quality
Assurance, a male, who previously had no staff reporting
directly to him because of an “inability to manage people”.
The above actions on the part of Defendants created a harassing and hostile
work environment for Plaintiff that was so severe and pervasive as to alter
the terms and conditions of Plaintiff’ s employment
Gateway, lnc., failed in it duty to maintain a productive, safe working
environment for Plaintiff, failed to exercise reasonable care to prevent a
discriminatory and hostile work environment in not enforcing workplace
policies addressing gender discrimination
As a direct and proximate result of the discrimination and hostile work
environment the Plaintiff suffered, Plaintiff has been damaged in an amount
to be determined by the jury.

Additionally, the acts undertaken by Gateway, Inc. , were done with willful

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and callous disregard to the interest of Plaintiff, entitling the Plaintiff to an
award of exemplary damages against them. n
COUNT II
RETALIATION

33. Plaintiff incorporates by reference the allegations set forth in paragraphs l
through 32 and all parts thereof as if specifically set forth herein.

34. Plaintiff"s firing was in retaliation for her opposing discrimination on the
basis of her gender by her act of filing a compiaint against Employer
Defendants and such action was taken in violation of 42 U.S.C. § 2000e 3
(a) which states that it shall be an “unlawful employment practice for an
employer to discriminated against any of his employees . . . because he has
opposed any practice made an unlawii.ll employment practice by this
subchapter, or because he has made a charge, testified, assisted, or
participated in any manner in an investigation, proceeding, or hearing under
this subchapter The effect of the practices complained of above has been to
deprive Plaintiff of equal employment opportunities and to otherwise
adversely affect Plaintiff’ s status as an employee because of her exercise of
a federally-protected right to oppose practices that she reasonably believed
constituted violations of Title VII, in violation of Section 704(a) of Title

vii, 42 u.s.c. § 2000e-sat

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The unlawful employment practices complained off above were intentional.
The unlawful employment practices complained cif above were done with
malice or with reckless indifference to the federally protected rights of the
Plaintiff.

Defendants acts as alleged herein constitute discriinination and Defendants’
discriminatory acts have caused Plaintiff to lose her employment and have
resulted in lost wages and employment-related benefits in an amount to be
determined at the time of trial, together with prejudgment interest thereon
from the date due until paid in full.

Plaintiff is entitled to front pay for the damages and loss of career she will
have in the future.

Defendants’ discriminatory acts have also caused flaintiff to suffer damage
to her reputation, extreme emotional distress, humiliation, anxiety and
depression in an amount to be determined at trial.

Plaintiff has been required to retain attorneys to prosecute this action and
Plaintiff is entitled to recover her attorney fees and reasonable costs
incurred herein pursuant to 42 U.S.C.A. §1988 and FRCP 54(d).
Defendants’ conduct was malicious and in total disregard of the rights of

Plaintiff and is highly repugnant to the interest of zsociety. Punitive

damages in an amount to be determined by the jury should be awarded to

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punish Defendants and to deter and discourage Defendants and others from
acting in a similar fashion.
COUNT III
EQUAL PAY ACT

42. Plaintiff incorporates by reference the allegations set forth in paragraphs 1
through 41 and all parts thereof as if specifically set forth herein.

43. Defendants, employer of Plaintiff herein, who are employees subject to the
provisions of the Equal Pay Act, has, during the pieriod since November 20,
2001, repeatedly and willfully violated, and it is willfully violating the Act
by discriminating between employees on the basis of sex by paying the
plaintiff at rates less than the rates at which it pays male employees in the
same establishment for equal work on jobs the performance of which
requires equal skill, effort and responsibility, and svhich are performed
under similar working conditions.

44. Ajudgment granting damages in the amount of the difference between the
wages paid to male employees for equal work within the meaning of the
Equal Pay Act together with an additional equal amount as liquidated
damages is specifically authorized by Section 216(b) and Section 6(d)(3) of
the Act.

COUNT IV

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SOUTH DAKOTA HUMAN RELATIONES ACT
Plaintiff incorporates by reference the allegations set forth in paragraphs 1
through 44 and all parts thereof as if specifically set forth herein.
The Defendant’s conduct as articulated above constitutes discrimination in
violation of SDCL § 20-13-10.
Said discrimination was based on gender. Defendants also engaged in
retaliation when Plaintiff attempted to exercise he§r protected rights.
Specifically, Plaintiff was made to endure a discriininatory and hostile
working environment that was so severe and pervasive as to alter the terms
and conditions of Plaintiff` s employment
The Defendants failed to maintain a work environment free from gender
discrimination
As a direct and proximate result of the discrimination and hostile work
environment, Plaintiff has been damaged in an amount to be determined by
the jury.
Additionally, the acts undertaken by Defendants were done with willful and
callous disregard to the interest of Plaintiff, entitling Plaintiff to an award of
exemplary damages against them.

COUNT V.

INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

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Plaintiff incorporates by reference the allegations set forth in paragraphs 1
through 51 and all the parts thereof as if specifically set forth herein.
Defendants allowed a discriminatory and hostile work environment to take
place, and their failure to actively promote, establish and maintain a work
environment that is respectful of diversity constitutes extreme and
outrageous conduct. Similarly, Defendants’ acts constituted extreme and
outrageous conduct.

By their acts and omissions, Defendants intendedito cause Plaintiff severe
emotional distress.

As a direct and proximate cause of Defendant’s extreme and outrageous
conduct, Plaintiff has suffered an extreme disabling emotional response
As a further direct and proximate result of Defendant’s intentional infliction
of emotional distress upon Plaintiff, Plaintiff has been damaged in an
amount to be determined by the jury.

The acts undertaken by Defendants were done with willful and callous
disregard to the interests of the Plaintiff, entitlinnglaintiff to an award with
exemplary damages against Defendants

Defendant had a duty to refrain from humiliating,- abusive, assaultive and
degrading behavior towards Plaintiff.

Defendants knew or should have known the emotional distress was certain

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or substantially certain to result from its misconduct
The actions of the Defendants constitute outrageous conduct beyond the
bounds of decency and intolerable in civilized society.
The extreme and outrageous nature of the conduct arises from the abuse by
Defendants of their relationship and position which gave the Defendants the
actual or apparent power to damage Plaintiff’ s interest.
As a direct and proximate result of Defendant’s dutrageous conduct,
Plaintiff has suffered and continues to suffer mental anguish, pain and
suffering, humiliation, embarrassment, emotional distress and other
damages in an amount to be determined at trial.
COUNT VI.

BREACH OF CONTRACT
Plaintiff incorporates by reference the allegations set forth in paragraphs 1
through 62 and all the parts thereof as if specifically set forth herein.
That the Defendant’s online policies and procedures guide, also know as the
Gateway Handbook and also known as Policy and Procedure Manual
contained policies prohibiting discrimination on the basis of gender,
policies prohibiting retaliation against employees for exercising their civil
rights.

Defendants engaged in a course of conduct that violated the rules,

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regulations and disciplinary procedures in employer’s employee handbook
and non-retaliation policies thereby breaching the employment contract with
Plaintiff.

66. At all times material hereto, the employees involved in the discrimination
and knowledge of the discrimination of Plaintiff were agents of Gateway,
lnc. The wrongful actions and omissions of Gateway, lnc.’s agents and
employees as described herein were at all times related to their duties and
responsibilities as agents of Gateway, lnc and/or accomplished by virtue of
the authority granted to them by Gateway, Inc., and therefore, Gateway,
Inc., is liable for the wrongful conduct of its agents and employees under
the law of vicarious liability.

VII.
RESERVE FOR PUNITIVE DAMAGES

67. Plaintiff incorporates by reference the allegations set forth in paragraphs 1
through 66 and all parts thereof as if specifically set forth herein.

68. Based on the foregoing allegations, Defendant’s conduct showed a
disregard for Plaintiff’s rights because Defendant acted willfully or
wantonly to the injury of Plaintiff and is therefore liable to Plaintiff for
punitive damages

VIII.

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DEMAND FOR JURY TRIAL

69. Pursuant to Rule 38(b) of the F ederal Rules of Civil Procedure, Plaintiff

hereby requests trial by jury of the issues of fact in this action.

REQUEST FOR RELIEF

WHEREFORE, Plaintiff requests the following relief:

1.

That pursuant to Rule 33(b) of the Federal Rules of Civil Procedure,
Plaintiff hereby requests trial by jury of the issuesiof this action; and

For compensatory damages in such amount as theievidence at trial may
show; and

For damages, including by not limited to, those damages allowed by 42
U.S.C. § 2000e et seq, and any other pertinent and applicable statute, rule,
or regulation whether state or federal; and

For an Order awarding Plaintiff back pay and front pay; and

That the Court enter judgment in favor of Plaintiff on Plaintiff"s claim
arising under the South Dakota Human Relations jAct; and

That the Court enter judgment in favor of Plaintiff on Plaintiff’s claim
arising under the Equal Pay Act, and Defendants be ordered to pay the
Plaintiff an amount equal to the difference between the wages actually
received and the wages paid to male employees performing equal work and

interest thereon together with an additional equal amount as liquidated

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damages;

That the Court order the Defendants to pay Plaintist costs in the action;
That the Court order the Defendants to. pay Plaintiff’ s reasonable attorney’s
fees;

That the Court enter judgment in favor of the Plaintiff on Plaintiff`s claims
of violation of the South Dakota Human Relations Act, lntentional
lnfliction of Emotional Distress and Breach of Contract; and

For punitive damages in an amount determined at trial; and

For costs and disbursements incurred herein, including prejudgment interest
and reasonable attorney fees; and

For such other and further relief as the Court deems just in the premises.

Dated at Sioux Falls, South Dakota this wa November, 2004.

~ l"S'(;)L LAW FIRM

   
 

Attorney for Plaintiff

515 S. CliffAvenue, Suite 200
Sioux Falls, SD 57104

(605) 339-0909

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